WOODRUFF, SPRADLIN
& SMART
ATTORNEYS AT LAW
COSTA MESA

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Attorneys for Defendants COUNTY OF ORANGE, a public entity,
and TERRA CARRILLO, as an employee of COUNTY OF
ORANGE, a public entity

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

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SHEENA OGLE, CASE NO.: 8:18-cv-00425-DOC-JDE
Plaintiff, | BEFORE THE HON. DAVID CARTER

V. JOINT NOTICE OF SETTLEMENT

CRUEL GF ONCE ma TERRA | HEARING DATES ENDING

Date: November 4, 2019
Defendants. Time: 8:30 a.m.

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On B&B Ww NO

 

poe,
ON

Type: Trial
Date: November 12, 2019
Time: 8:30 a.m.

TO: ALL PARTIES AND THEIR RESPECTIVE ATTORNEYS OF RECORD:
PLEASE TAKE NOTICE that the parties have reached a settlement of the

 

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material terms in the above matter. Further terms are being memorialized in a separate

NO
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settlement agreement. Upon execution of that document and satisfaction of the

No
No

settlement, Plaintiff will dismiss this matter with prejudice.

DATED: April 18, 2019 WOODRUFF, SPRADLIN & SMART, APC

NO
& Ww

By:/s Jason M. McEwen
DANIEL K. SPRADLIN
JASON M. MCEWEN
Attorneys for Defendants COUNTY OF
ORANGE, a public entity, and TERRA
CARRILLO, as an employee of COUNTY
OF ORANGE, a public entity

 

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1 ||DATED: April 18, 2019 PEIFFER WOLF CARR & KANE, APLC
2
3 By:./s Adam B. Wolf
4 ADAM B. WOLF
LYDIA M. FLOYD
5 Attorneys for Plaitniff SHEENA OGLE
6
7 Pursuant to Local Rule 5-4.3.4, I, Jason M. McEwen, attest that Adam B. Wolf
g || concurs with the contents of this Notice of Settlement and has authorized the filing of
9 same.
19 |JDATED: April 18, 2019 WOODRUFF, SPRADLIN & SMART, APC
11
12 By:/s Jason M. McEwen
DANIEL K. SPRADLIN
13 JASON M. MCEWEN
14 Attorneys for Defendants COUNTY OF
ORANGE, a public entity, and TERRA
15 CARRILLO, as an employee of COUNTY
OF ORANGE, a public entity
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WOODRUFF, SPRADLIN
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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF ORANGE

I am over the age of 18 and not a party to the within action; I am employed by
WOODRUFF, SPRADLIN & SMART in the County of Orange at 555 Anton
Boulevard, Suite 1200, Costa Mesa, CA 92626-7670.

On April 18, 2019, I served the foregoing document(s) described as
JOINT NOTICE OF SETTLEMENT

Ll by placing the true copies thereof enclosed in sealed envelopes addressed as
stated on the attached mailing list;

[] (BY MAIL) I placed said envelope(s) for collection and mailing, followin
ordinary business practices, at the business offices of WOODRUFF,
SPRADLIN & SMART, and addressed_as shown on the attached service list,
for deposit in the United States Postal Service. I am readily familiar with the
practice of WOODRUFF, SPRADLIN & SMART for collection and processin
correspondence for mailing with the United States Postal Service, and sai
envelope(s) will be deposited with the United States Postal Service on said date
in the ordinary course of business.

x] (BY ELECTRONIC SERVICE) I caused the above-referenced document to
be transmitted to the interested parties via electronic mail as stated on the
attached Service List.

CL] (BY ELECTRONIC SERVICE) by causing the foregoing document(s) to be
electronically filed using the Court’s Electronic Filing System which constitutes
service of the filed document(s) on the individual(s) listed on the attached
mauling list.

C1 (BY OVERNIGHT DELIVERY) I placed said documents in envelope(s) for
collection following ordinary business practices, at the business offices of
WOODRUFF, SPRADLIN & SMART, and addressed as shown on the attached
service list, for collection and delivery to a courier authorized by

to receive said documents, with delivery fees

rovided for. I am readily familiar with the practices of WOODRUFF,
PRADLIN & SMART for collection and processing of documents for
overnight delivery, and said envelope(s) will be deposited for receipt by

on said date in the ordinary course of business.

CL] (BY PERSONAL SERVICE) I delivered such envelope(s) by hand to the
offices of the addressee(s).

 

 

(Federal) I declare that I am employed in the office of a member of the bar of
this court_at whose direction the service was made. I declare under
penalty of perjury that the above is true and correct.

Executed on April 18, 2019, at Costa Mesa, California.

/s/ Gloria V. Herrera
Gloria V. Herrera

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& SMART
ATTORNEYS AT LAW
COSTA MESA

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SHEENA OGLE vy. COUNTY OF ORANGE
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF
CALIFORNIA
CASE NO.: 8:18-CV-00425-DOC-JDE
ASSIGNED TO: THE HONORABLE DAVID O. CARTER
REFERRED TO: THE HONORABLE JOHN D. EARLY
SERVICE LIST

Adam B. Wolf, Esq. Attorneys for Plaintiff
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5042 Wilshire Blvd., No. 304

Los Angeles, CA 90036

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Email: awolf@prwlegal.com

Lydia M. Floyd, Esq. Pro Hoc Vice counsel for Plaintiff
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Cleveland, Ohio 44115

Telephone: (216) 242-6493

Facsimile: (216) 916-9220

Email: lflovd(@pwcklegal.com

9/4/18

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